RECEl\/E

|N CLERK'S OFF|CE
IN THE UNITED STATES DISTRICT COURT NOV 1 4 2011
FOR THE MIDDLE DISTRICT OF TENNESSEE U.S. D|STRICT COURT
AT NAsHVILLE A/HD_ DlST: TENN_
SANDRA KAY WALLER
Plaintiff,
v. ` Docket No.

Jury'Demand

PEARSON EDUCATION, INCORPORATED

Defendant. `

COMPLAINT

`Comes the plaintiff, through counsel, and Would show the court as

folloWs:
PARTIES

1. Plaintiff is a citizen and resident of this State and resides Within the
Confines of the jurisdiction of this court.
2. Defendant, Pearson Education, Inc., is a Delaware Corporation With its
principal offices located at 1 Lake St., Upper Saddle River, NeW Jersey. The
registered agent for service of process iss Prentice-Hall Corporation System,
lnc., 2908 Poston Ave., Nashville, TN 37203.

JURISDICTION AND VENUE

3. .This court has jurisdiction pursuant to the Americans With Disabilities l
Act of 1990 [ADA] including changes made by the ADA Amendments Act of

2008 (P.L. 110-325). Further, this court has jurisdiction pursuant to the

1
Case 3:11-cv-01084 Document 1 Filed 11/14/11 Page 1 of 6 Page|D #: 1

Tennessee Disability Act, TCA 8-50-103 and the common law of the State of

Tennessee.

4. Venue is proper in that the acts complained of occurred Within the
confines of the jurisdiction of this court.

FACTS
5. Plaintiff began Working for defendar.t’s predecessors, Prentice-Hall
and Simon and Schuster in October 1992 as a sales representative The
name of her employer subsequently changed to the present defendant,
Pearson Education, lncorporated. During the course of her employment she

became an award-Winning sales representative, and later, a district sales

.manager With average sales of 109%.

6. ln approximately 2009, plaintiff began experiencing memory loss and
difficulty Walking. After consulting With physicians, plaintiff Was diagnosed

as having a muscle rigidity disease With Parkinson-like syndrome.

7.` Plaintiff’ s physician recommended that she take time off Work, and in
January of 2010 she Was placed on short-term disability. After six months,
plaintiff Was placed on long-term disability. The defendant Was acutely

aware of plaintiffs medical condition.

' 8. P_laintiff returned to Work on January 24, 2011 With some minor
limitations requiring that she limit her travel to 60% of the time she Was

previously traveling per month. Plaintiff returned to her same position, Pre-

2 v
Case 3:11-cv-O1084 Document 1 Filed 11/14/11 Page 2 of 6 Page|D #: 2.

Work Curriculum Manager for l\/lathematics and Science, on January 24,

2011 and performed her job Without any difficulty vvhatsoever.

9. ln April of 2011 plaintiff Was advised by' human resources
representative, Sheri Jolcover that her position Was going to change and that
she should consider “leaving her position”. The reason given Was that there
Was to be more travel added to her job Which Would entail visiting school
district superintendents l\/ls`. Jolcover advised plaintiff that she knew she

Was sick and could go back on long-term disability if she so desired.

10. Plaintiff Was extremely shocked and appalled by this information. d
Plaintiff advised Ms. Jolcover that her physician had given her approval to
Work and that she could not go back on disability even if she Wanted to.
Plaintiff advised her that she had every intention of staying employed and
performing any Work required of her. After this conversation, Plaintiff

continued to perform her job Without difficulty.

11. On September 13, 2011, plaintiff Was told to participate in a conference
call With management employees Present for the conference call Were Riley
Wade, former Area Vice President, Sheri Jolcover, human resource
representative and Pat l\/chugh, Vice President for Shared Services. During
the conference call Plaintiff Was told that the seven Pre-Work Curriculum
l\/lanagers in the company had been reduced to five and that she Was not one
of the ones chosen to remain. Fur_ther, she Was advised that this decision Was

based on a certain "skill set" for math or science Which she did not possess.'

3
Case 3:11-cv-01084 Document 1 Filed 11/14/11 Page 3 of 6 Page|D #: 3

 

12. Plaintiff knew that this was nothing more than a phony or pretextual
reason for removing her from the company due to her medical condition, the
reason being that Plaintiff far exceeded the requirements for the “skill set”
‘ for the position and much more. Plaintiff had formerly worked for a National
Aeronautics and Space Administration _(NASA) contractor as Director of the
NASA Teacher Resource Center; she was a Trainer for NASA in their Total
Quality l\/lanagement Program and received the Chairman's Award for
Excellence in Customer Satisfaction; she was selected to be a keynote speaker
at the l\/lississippi Women in Science and Technology conference; she was
previously employed as an adjunct assistant professor at Oklahoma State
University; she was a Science Education Representative and Lecturer for
NASA’s l\/larshall Space Flight Center in Huntsville Alabama and v
NASA/l\/lartin l\/larietta l\/lichoud Assembly Facility in New Orleans,

\ Louisiana.

13. ln addition to the aforementioned spurious reasons for her
termination, plaintiff was advised that the new position for which she did not
possess the requisite skill-set, would be a "national" position and not
"regional" position which plaintiff was used to. Plaintiff responded that she
could travel nationally just like everyone else and asked if they were doing
this because of her disability. Sheri Jolcover immediately spoke up and said
that “Pat l\/chugh is not aware of your disability and that your disability is

not that obvious. Plaintiff would aver that this is blatantly false because

4
Case 3:11-cv-01084 Document 1 Filed 11/14/11 Page 4 of 6 Page|D #: 4 `

 

everyone knew that she had taken off a year from work because of her
disability. At the end of the phone conference, Plaintiff Was told by l\/lr.
l\/chugh that she could apply for another position termed New Business

Development Manager and then abruptly hung up on the plaintiff.

14. The next day after plaintiff was hung up on by l\/lr. l\/chugh, she
applied for this new position. After reading the job description, plaintiff

knew that she could perform the duties without any problem whatsoever.

15. v On Thursday, September 15, 2011, Pat l\/chugh called plaintiff to
interview her over the phone for this position. Plaintiff would aver that the
interview could not have gone any better and that she expected to be chosen.

However,v the next day plaintiff was notified that someone else had been

chosen for this position, The person chosen, Jackie l\/larshall, did not have

the years of experience as the plaintiff, less qualified, and had no obvious
disability. l Due to her not being chosen for this new position, plaintiff was

v effectively terminated.

16. Based upon the above facts, plaintiff would aver that she was

terminated and`that the sole basis for her termination was due to her '

disability and/or perceived disability as defined by the Americans with
Disabilities Act and the Tennessee Handicap Act. She was treated unfairly
and discriminatorily because the defendant believed her to be disabled when
in fact she was not so disabled. Plaintiff would aver that the defendant has

an unreasonable bias against her because of her medical condition as

~ 5
Case 3:11-cv-01084 Document 1 Filed 11/14/11 Page 5 of 6 Page|D #: 5

aforementioned without a proper basis, and that her medical condition may

change for the worse in the future

17. Plaintiff would aver that the blatant, intentional and malicious acts of
the defendant amount to discrimination on the basis of her disability and/or

perceived disability which merit the award of punitive damages.

WHEREFORE AND FOR ALL OF WHICH plaintiff sues defendant
for $1,000,000.00 in compensatory damages which include lost wages, front
pay, damages for emotional distress, embarrassment, loss of enjoyment of life
and $3,000,000.00 in punitive damages, and for such other and general relief
as he is deemed entitled to including but not limited to a reasonable attorney
fee, reasonable discretionary expenses of litigation, and the costs of the cause.

Plaintiff demands a jury to resolve the issues joined.

Respectfully submitted,

s/James L. Harris No. 014173
s/Robert J. Shockey No. 2092
Attorney at Law

2400 Crestmoor Road
Nashville, Tennessee 37215
Phone 615-260-3677

Fax 615-297-6855
jhar401@comcast.net

6
c Case 3:11-cv-01084 Document 1 Filed 11/14/11 Page 6 of 6 Page|D #: 6

